 Fill in this information to identify the case:

 Debtor 1              Wesley Matthew Kunkel
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Middle DistrictDistrict of __________
                                                         of Pennsylvania

 Case number            23-01205-HWV
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   US Bank Trust National Association, Not In Its Individual Capacity
 Name of creditor: _______________________________________                                                             1-1
                                                                                          Court claim no. (if known): _____________________
                              But Solely As Owner Trustee For VRMTG Asset Trust

 Last 4 digits of any number you use to                                                   Date of payment change:
 identify the debtor’s account:                                 9 ____
                                                               ____ 1 ____
                                                                       0 ____
                                                                           2              Must be at least 21 days after date       05/01/2025
                                                                                                                                    _____________
                                                                                          of this notice


                                                                                          New total payment:                                931.81
                                                                                                                                    $ ____________
                                                                                          Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                    400.42
                   Current escrow payment: $ _______________                            New escrow payment:                   459.69
                                                                                                                    $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔ No
      
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:            _______________%                   New interest rate:          _______________%

                   Current principal and interest payment: $ _______________            New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔ No
      
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                          New mortgage payment: $ _______________


Official Form 410S1                                                Notice of Mortgage Payment Change                                         page 1

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Debtor 1         Wesley   Matthew Kunkel
                 _______________________________________________________                                              23-01205-HWV
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

      I am the creditor.
     ✔ I am the creditor’s authorized agent.
     


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 /s/ Brian E. Caine
     _____________________________________________________________
     Signature
                                                                                               Date    03/24/2025
                                                                                                       ___________________




 Print:             Brian E. Caine
                    _________________________________________________________                  Title   Attorney
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            Parker McCay, P.A.
                    _________________________________________________________



 Address            9000 Midlantic Drive, Suite 300
                    _________________________________________________________
                    Number                 Street

                    Mount Laurel                     NJ      08054
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      856-985-4059
                    ________________________                                                         bcaine@parkermccay.com
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2

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     Print            Save As...                             Doc AddFiledAttachment
                                                                          03/24/25 Entered 03/24/25 09:07:07                                Desc
                                                                                                                                             Reset
                                                             Main Document      Page 2 of 7
                                                                                  Shellpoint Mortgage Servicing
                                                                                  P.O. Box 10826
                                                                                  Greenville, SC 29603
                                                                                  For Inquiries: 800-365-7107
                                                                                                                                                               Final

                                                                                                               Analysis Date:                                February 04, 2025
       WESLEY KUNKEL                                                                                           Loan:
       2225 COPENHAFFER RD                                                                                     Property Address:
       DOVER PA 17315                                                                                          2225 COPENHAFFER RD
                                                                                                               DOVER, PA 17315




                                                Annual Escrow Account Disclosure Statement - Account History
        THIS NOTICE IS BEING PROVIDED PURSUANT TO THE REAL ESTATE SETTLEMENT PROCEDURES ACT AND REGULATION X. TO THE EXTENT THE LOAN
      DESCRIBED BELOW IS INCLUDED IN AN ACTIVE BANKRUPTCY CASE OR IS SUBJECT TO A BANKRUPTCY DISCHARGE, THIS NOTICE IS BEING PROVIDED FOR
           INFORMATIONAL PURPOSES ONLY AND IS NOT A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEBT FROM YOU PERSONALLY

     The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
     behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
     decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
     increase. If the escrow payment decreases, your mortgage payment will decrease.
Payment Information       Contractual Effective May01, 2025             Prior Esc Pmt             May 01, 2024         Escrow Balance Calculation
P & I Pmt:                    $472.12                     $472.12       P & I Pmt:                      $472.12        Due Date:                                       May 01, 2024
Escrow Pmt:                   $400.42                     $459.69       Escrow Pmt:                     $400.42        Escrow Balance:                                       -$9.56
Other Funds Pmt:                $0.00                       $0.00       Other Funds Pmt:                  $0.00        Anticipated Pmts to Escrow:                       $4,805.04
Asst. Pmt (-):                  $0.00                       $0.00       Asst. Pmt (-):                    $0.00        Anticipated Pmts from Escrow (-):                   $890.61
Reserve Acct Pmt:               $0.00                       $0.00       Resrv Acct Pmt:                   $0.00
Total Payment:                $872.54                     $931.81       Total Payment:                  $872.54        Anticipated Escrow Balance:                        $3,904.87

Shortage/Overage Information                      Effective May01, 2025           Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
Upcoming Total Annual Bills                                     $5,516.30         amounts or insurance premiums, your escrow balance contains a cushion of 919.38.
Required Cushion                                                  $919.38         A cushion is an additional amount of funds held in your escrow in order to prevent the
Required Starting Balance                                       $3,246.62         balance from becoming overdrawn when an increase in the disbursement amount
Escrow Shortage                                                     $0.00         occurs. Your lowest monthly balance should not be below 919.38 or 1/6 of the
Surplus                                                           $658.25         anticipated payment from the account.


      ** Since you are in an ac ve bankruptcy, your new payment shown above is the post-pe on payment amount.
     This is a statement of actual activity in your escrow account from May2024 to Apr 2025. Last year's anticipated activity (payments to and from your
     escrow account) is next to the actual activity.
                         Payments to Escrow                  Payments From Escrow                                                  Escrow Balance
        Date             Anticipated      Actual             Anticipated       Actual                 Description                  Required             Actual
                                                                                              Starting Balance                      2,674.13        (11,920.68)
       May 2024                396.09            800.84         1,291.00                    * Hazard                                1,779.22        (11,119.84)
       Jun 2024                396.09            800.84                                     *                                       2,175.31        (10,319.00)
       Jul 2024                396.09                                                       *                                       2,571.40        (10,319.00)
       Aug 2024                396.09            800.84                                     *                                       2,967.49         (9,518.16)
       Aug 2024                                                                   2,580.69 * School Tax                             2,967.49        (12,098.85)
       Sep 2024                396.09            800.84         2,571.41                    * School Tax                              792.17        (11,298.01)
       Oct 2024                396.09            400.42                                     *                                       1,188.26        (10,897.59)
       Nov 2024                396.09            800.84                                     *                                       1,584.35        (10,096.75)
       Dec 2024                396.09            800.84                                     *                                       1,980.44         (9,295.91)
       Jan 2025                396.09            400.42                                     *                                       2,376.53         (8,895.49)
       Feb 2025                396.09                                                       *                                       2,772.62         (8,895.49)
       Mar 2025                396.09                                                       *                                       3,168.71         (8,895.49)
       Apr 2025                396.09                             890.61                    * Town Tax                              2,674.19         (8,895.49)
                                                                                              Anticipated Transactions              2,674.19         (8,895.49)
       Apr 2025                               4,805.04 P                            890.61    Town Tax                                               (4,981.06)
                            $4,753.08        $10,410.92        $4,753.02          $3,471.30
       An asterisk (*) indicates a difference from a previous estimate either in the date or the amount . If you want a further explanation, please call our toll -free number.
       P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown .




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                                                                             Shellpoint Mortgage Servicing                                          Final
                                                                             For Inquiries: 800-365-7107

                                                                                                        Analysis Date:                            February 04, 2025
                                                                                                        Loan:

                                     Annual Escrow Account Disclosure Statement - Projections for Coming Year
       THIS NOTICE IS BEING PROVIDED PURSUANT TO THE REAL ESTATE SETTLEMENT PROCEDURES ACT AND REGULATION X. TO THE EXTENT THE LOAN
     DESCRIBED BELOW IS INCLUDED IN AN ACTIVE BANKRUPTCY CASE OR IS SUBJECT TO A BANKRUPTCY DISCHARGE, THIS NOTICE IS BEING PROVIDED FOR
          INFORMATIONAL PURPOSES ONLY AND IS NOT A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEBT FROM YOU PERSONALLY

    This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.
    Your unpaid pre-petition escrow Amount is $8,885.93. This amount has been removed from the projected starting balance.

    Original Pre-Petition Amouont $8,885.93, Paid Pre-Petition Amount $0.00, Remaining Pre-Petition Amount $8,885.93.
        Date                 Anticipated Payments                                                                        Escrow Balance
                           To Escrow        From Escrow           Description                                     Anticipated           Required
                                                                  Starting Balance                                 3,904.87              3,246.62
    May 2025                  459.69         2,045.00             Hazard                                           2,319.56              1,661.31
    Jun 2025                  459.69                                                                               2,779.25              2,121.00
    Jul 2025                  459.69                                                                               3,238.94              2,580.69
    Aug 2025                  459.69                                                                               3,698.63              3,040.38
    Sep 2025                  459.69         2,580.69             School Tax                                       1,577.63                919.38
    Oct 2025                  459.69                                                                               2,037.32              1,379.07
    Nov 2025                  459.69                                                                               2,497.01              1,838.76
    Dec 2025                  459.69                                                                               2,956.70              2,298.45
    Jan 2026                  459.69                                                                               3,416.39              2,758.14
    Feb 2026                  459.69                                                                               3,876.08              3,217.83
    Mar 2026                  459.69                                                                               4,335.77              3,677.52
    Apr 2026                  459.69           890.61             Town Tax                                         3,904.85              3,246.60
                            $5,516.28        $5,516.30
     G – Pending Disbursements prior to the bankruptcy filing date. Pre-petition disbursements.

   (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)

   Your ending balance from the last month of the account history (escrow balance anticipated) is 3,904.87. Your starting
   balance (escrow balance required) according to this analysis should be $3,246.62. This means you have a surplus of 658.25.
   This surplus must be returned to you unless it is less than $50.00, in which case we have the option of retaining in your escrow account
   and lowering your monthly payments accordingly. As the loan is delinquent, we will not be sending a check for the surplus.
   A check will be mailed within 30 days from the date of the analysis if your loan is current.
   We anticipate the total of your coming year bills to be5,516.30. We divide that amount by the number of payments expected during the coming year to
   obtain your escrow payment.
    New Escrow Payment Calculation
     Unadjusted Escrow Payment                                   $459.69
     Surplus Reduction:                                            $0.00
     Shortage Installment:                                         $0.00
     Rounding Adjustment Amount:                                   $0.00
     Escrow Payment:                                             $459.69

                                             Please read the following important notices as they may affect your rights.

Newrez LLC dba Shellpoint Mortgage Servicing is a debt collector. This is an attempt to collect a debt and any information obtained will be used for that
purpose. Newrez LLC dba Shellpoint Mortgage Servicing's NMLS ID is 3013.

If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice is to advise
you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal liability to any recipient hereof,
who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who might be subject to the automatic stay of
Section 362 of the United States Bankruptcy Code.

Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide important protections for you,
including interest rate protections and prohibiting foreclosure under most circumstances during and twelve months after the servicemember’s military or
other service. Counseling for covered servicemembers is available from Military OneSource(800-342-9647) and the United States Armed Forces Legal
Assistance or other similar agencies. For more information, please visit the Military OneSource website www.militaryonesource.mil/.

Notice of Error or Information Request Address
You have certain rights under Federal law related to resolving errors in the servicing of your loan and requesting information about your loan. If you want
to request information about your loan or if you believe an error has occurred in the servicing of your loan and would like to submit an Error Resolution
or Informational Request, please write to us. Additionally, if you believe we have furnished inaccurate information to credit reporting agencies, please
write to us with specific details regarding those errors and any supporting documentation that you have and we will assist you. Error Resolution,
including concerns of inaccurate information sent to credit reporting agencies, or requests for information should be sent to the following address:

Shellpoint Mortgage Servicing
P.O. Box 10826
Greenville, SC 29603

We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may be reflected
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in your credit report.

A successor in interest is someone who acquires an ownership interest in a property secured by a mortgage loan by transfer upon the death of a
relative, as a result of a divorce or legal separation, through certain trusts, between spouses, from a parent to a child, or when a borrower who is a joint
tenant or tenant by the entirety dies. If you are a successor in interest, or you think you might be, please contact by phone, mail or email to start the
confirmation process.

Our system of record has your preferred language as English.

If you prefer to receive communication in a language other than English, please contact us at800-365-7107 to speak with a translator in your preferred
language about the servicing of your loan or a document you received.

Si prefiere recibir las comunicaciones en otro idioma que no sea el inglés, por favor, contáctenos en el 800-365-7107 para hablar con un traductor en el
idioma de su preferencia sobre la gestión de su préstamo o cualquier documento que haya recibido.

如果您要使用英语以外的其他语言进行交流，请致电                                            800-365-7107，我们将根据您首选的语言安排相应的译员，与您就贷款服务事项或您所接
收的文件进行商讨。

Please note that we operate as Newrez Mortgage LLC dba Shellpoint Mortgage Servicing in Arkansas and Texas.




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                             UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF PENNSYLVANIA

     Wesley Matthew Kunkel                                 :
                                                           : CHAPTER 13
                                Debtor                     : CASE NO: 1:23-bk-01205-HWV
     -------------------------------------------------     :           ________________
                                                           :
     US Bank Trust National Association, Not In :
     Its Individual Capacity But Solely As Owner:
     Trustee For VRMTG Asset Trust                         :
                                                           :
                                Movant                     :
             v.                                            :
                                                           :
     Wesley Matthew Kunkel                                 :
                                                           :
                                Debtor                     :
              and                                          :
                                                           :
     Jack N. Zaharopoulos (Trustee)                        :
                                                           :
                       Respondents                         :
     ------------------------------------------------------:

                              CERTIFICATE OF SERVICE OF
                         NOTICE OF MORTGAGE PAYMENT CHANGE

            I, Brian E. Caine, Esq. certify under penalty of perjury that I served the above
     captioned pleading on the parties at the addresses specified below on __________________.
                                                                              March 24, 2025


     SERVICE BY Notice of Electronic Filing:
     Michael A. Cibik. Esq.
     Cibik Law, P.C.
     1500 Walnut Street, Suite 900
     Philadelphia, PA 19102

     Jack N. Zaharopoulos
     Standing Chapter 13 Trustee
     8125 Adams Drive, Suite A
     Hummelstown, PA 17036

     United States Trustee
     US Courthouse
     1501 N. 6th St
     Harrisburg, PA 17102




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     SERVICE BY First-Class Mail:

     Wesley Matthew Kunkel
     2225 Copenhaffer Rd
     Dover, PA 17315-1839

     EXECUTED ON: March 24, 2025
                                          By: /s/Brian E. Caine
                                          BRIAN E. CAINE, ESQ.
                                          PA Attorney ID 86057
                                          PARKER McCAY P.A.
                                          9000 Midlantic Drive, Suite 300
                                          Mount Laurel, New Jersey 08054
                                          (p) 856-985-4059
                                          (fax) 856-596-3427
                                          bcaine@parkermccay.com
                                          Attorney for Movant, US Bank Trust National
                                          Association, Not In Its Individual Capacity But
                                          Solely As Owner Trustee For VRMTG Asset Trust




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